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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                              :      Case No. 21-CR-108 (TSC)
                                                      :
                v.                                    :
                                                      :
MICHAEL JOSEPH FOY,                                   :
                                                      :
                               Defendant.             :


    UNOPPOSED MOTION TO CONTINUE THE STIPULATED TRIAL HEARING

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and unopposed by the above defendant, by and through his counsel,

Elizabeth Mullin, Esquire, moves this Court to continue the Stipulated Trial Hearing for the

defendant for approximately 30 days or whatever date in consistent with the Court’s calendar. In

support of this motion, the government relies on the following points and authorities and any other

such points and authorities as may be raised at any hearing on this matter.

        1)      The Court previously set the Stipulated Trial Hearing in this matter for May 22,

2023.

        2)      The government needs additional time to submit the finalized proposed Stipulated

Trial paperwork to counsel for the defendant. After which, counsel for the defendant may need a

very brief period of time to finalize any additional terms of the Stipulated Trial. Therefore, based

on this unopposed motion to continue the Stipulated Trial Hearing for approximately 30 days or

whatever date is consistent with the Court’s calendar.

        3)      If granted, the parties will reach out to the Court’s courtroom deputy to obtain the

available date(s) for the Court and parties.

        4)      Please note that counsel for the defendant is not available on the following dates -
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June 23, 2023 to July 5, 2023.

       4)      Consequently, the parties agree that it is in the interest of justice to continue this

matter for approximately 30 days, and thus request an exclusion of time under the Speedy Trial

Act pursuant to 18 U.S.C. § 3161(h)(7)(A).

       5)      Wherefore, the government request in this unopposed motion that the Court

continue this matter for approximately 30 days or whatever date is consistent with the Court’s

calendar.



                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY

                                      By:      /s/ Emory V. Cole
                                              Emory V. Cole
                                              PA. Bar #49136
                                              Assistant United States Attorney
                                              United States Attorney’s Office for D.C.
                                              601 D Street, N.W., Fourth Floor
                                              Washington, D.C. 20530
                                              E-mail: Emory.Cole@usdoj.gov
                                              Telephone: (202) 252-7692
